UMP MC se el mCM eatin mele meric om (Temas \ FI aa
at DOO o'clock H M

Debtor 4 Joel Alan Gatfney
First Nan Middle Natne

Debtor 2 JAN 0 4 2022

(Spouse, filing) Fen Name Mitdla Name Las Nama

 

 

United States Bankruptcy Court

United States Bankruptcy Court for the: District of New
wate Albuquerque, New Mexico

Check if this is

Case number 94-1132 an amended
(it know) filing

 

 

Official Form 106A/B /
Schedule A/B: Property a2i15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing tagether, both are equally
responsible for supplying correct information. if more space is needed, attach a separate sheet to this farm. On the top of any additional pages,
write your name and case number (if known). Answer every question.

ETA Describe Each Residence, Building, Land, or Gther Real Estate You Own or Have an Interest In

1, Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
[+] No. Ga to Part 2
(CO Yes. Where is the property?

er Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it an Schedule G: Executory Contracts and Unexpired Leases.

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
No
0 Yes

4, Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
+ Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
No
CO Yes

Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
5. you have attached for Part 2. Write that number here. » $0.00

 

 

 

 

ar Describe Your Personal and Household ttems

Do you own or have any Segal or equitable interest in any of the fofawing? Current value of the
portion you own?
6. Household goods and furnishings Do not deduct secured

claims or exemptions,
Examptes: Major appliances, fumiture, linens, china, kitchenware

(No

Yes. Describe...

[Household Furniture $ 625.00_
7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digitat equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games

 

 

(CNo

Yes, Describe...

iPad Pro

Laptop Computer
Cell phone - Used for business and personal $ 1475.00
Laptop Computer - Used for business and personal

 

 

 

Case 21-11322-kht7, Doc18 Filed 01/04/22 Entered 01/04/22 11:32:33 Page 1 of 6

page 1 of 5
Debtor. 0el Alan Gaffney Case number(if known) 21-1132?

Ars Maret ‘Middle Naste: Last dame

8. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; ather collections, memorabilia, collectibles

(J No

Yes. Describe..,

 

|various board games $ 150.00

 

9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other habby equipment; bicycles, pool tables, golf clubs, skis: canoes
and kayaks; carpentry tools; musical instuments
Na
CO] Yes. Describe...
10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
No
(J Yes. Describe...
11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

CJ No

Yes. Describe...

 

Clothing - Debtor
Professional Dress - For business $ 1,600.00

12. Jewelry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems
geld, silver

 

 

 

[¥] No

CO Yes. Describe...
13. Non-farm animals
Examples: Dogs, cats, birds, horses

CI No

) Yes. Describe...

 

[2 cats - ordinary domestic $ 0.00

 

14. Any other personal and household items you did not already list, including any health aids you did not list

No
(] Yes. Give specific information...

 

15, Add the dollar value of the portion you own for all of your entries from Part 3, including any entries for pages
you have attached for Part 3. Write that number here. > $2,850.00

 

 

 

 

ie-ee Describe Your Financial Assets

Do you own or have any tegal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.
16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
(No
(FV OS a cecssesececnesssneerersrereecsnvuseesrannscessesatsessuutstesatssessousecescenuerseqasereesansvarstssnarsessssaseusissssaseasssssees Cash aigegceu digs $ 320000_

17. Depesits of money

Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage hauses
and other similar institutions. If you have multiple accounts with the same institution, list each

 

O No

(FF) VeS.... eee Institution name

17,1, Checking account: Sandia Laboratories FCU $ 383.41
17.2. Savings account: Sandia Laboratories FCU $ 75.66

 

Case 21-11322-kht7. Doc 18° Filed 01/04/22 Entered 01/04/22 11:32:33 Page 2 of =

2 of 5
 

Debtor 1 Joel Alan Galiney Case number(if known} 21-1132

18.

19.

20.

21.

23.

24.

25.

26.

27,

Middle Mame Lat Aarne

Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

2] No

Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

 

 

(No

Yes, Give specific information about them...........

Name of entity: S6 of ownership:

Gatiney Law, PC 100 % $ 0.00
Silverman & Sardar LLP 1 % $ Unknown

Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

No
C) Yes. Give specific information about them..........
Retirement or pension accounts

Examples: interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

No
QO Yes. List each account separately

. Security deposits and prepayments

Your share of all unused deposits you have made se that you may continue service or use from a company

Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others

No

2 he

Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
No

VES. eseecnesees

Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition
program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1}.

(Fi No

Trusts, equitable or future interests in property (other than anything listed in line 2), and rights or powers
exercisable for your benefit

No

O ‘Yes. Give specific information about them...

Patents, copyrights, trademarks, trade secrets, and other intellectual property

Examples: Intemet domain names, websites, proceeds from royalties and licensing agreements

No

(C0 Yes. Give specific information about them...

Licenses, franchises, and other general intangibles

Examples: Building permits, exclusive licenses, cooperative association holdings, liquar licenses, professional licenses

CI No

Yes. Give specific information about them...

 

 

|New York Bar Admission, New Mexico Insurance Producer License, New Mexico Bar Admission - Suspended $ 0.00
Money of property owed to you? Current value of the
portion you own?
Bo nat deduct secured
claims or exemptions.

28.

Tax refunds owed to you

No
OC Yes. Give specific information about them, including whether you already filed the retums and the tax years...

Case 21-11322-kht7, Doc18 Filed 01/04/22 Entered 01/04/22 11:32:33 Page 3 of 6.

3 of5
Debior 1 Joel Alan Gafiney Case numbei(if known) 24-1192?

Ars Name Margie Marre Lad Sevres

 

Federal: $ 0.00
State: $ 0.00
Local: $ 0.00

 

 

 

29. Family support
Examples: Past due or tump sum alimony, spousal support, child support, maintenance, divorce settlement, property settiement
No
C) Yes. Give specific information...

30. Other amounts someone owes you

Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay. workers’ compensation,
Social Security benefits; unpaid loans you made to someone else

No
CC Yes. Give specific information...

31. Interests in insurance policies
No
CQ Yes. Name the insurance company of each policy and list its value...
32. Any interest in property that is due you from someone who has died

No
C Yes. Give specific information...

33. Ctaims against third parties, whether or not you have filed a fawsuit or made a demand for payment

No
( Yes. Give specific information...

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set
off claims

No
(Ol Yes. Give specitic information...
35. Any financial assets you did not already list

No
CO Yes. Give specific information...

 

36, Add the dollar value of the portion you own for all of your entries from Part 4, including any entries for pages
you have attached for Part 4. Write that number here. » $759.07

 

 

 

 

Zui Describe Any Business-Related Property You Own or Have an Interest In. List any real estate In Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

No. Go to Part 6,
CO Yes. Go to line 39.

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Past 1.

46. Do you own of have any legal or equitable interest in any farm- or commercial fishing-related property?

[4] No. Go io Part 7.
OO Yes. Go to line 47.

eee Describe All Property You Own or Have an interest in That You Did Nat List Above

53. Oo you have other property of any kind you did not already list?
Examples: Season tickets, country club membership
(2) No

OC Yes. Give specific
information...

 

54. Add the dollar value of all of your entries from Part 7. Write that mummber Were sccsssssessssrsserssssssssseesesesereererssse® $0.00

 

 

 

Case 21-11322-kht7, Doc18 Filed 01/04/22 Entered 01/04/22 11:32:33 Page 4 of 6.

ge 4 of S
Joel Alan Galiney i
Debtor 1 — WES mon Case number(if known) 21-11322

List the Totafs of Each Part of this Form

 

 

 

 

 

 

 

 

 

 

 

55. Part 1: Total real estate, line 2 »
$0.00
56. Part 2: Total vehicles, line 5 $0.00
57, Part 3: Total personal and househeld items, line 15 $ 3,850.00
58. Part 4: Total financial assets, tine 36 $ 759.07
59. Part 5: Total business-related property, line 45 $0.00 _—
60, Part 6: Total farm- and fishing-related property, line 52 $0.00
61. Part 7: Total other property not listed, line 54 + $0.00
62. Total personal property. Add lines 56 through 61 ......c.cu $ 4,609.07 Copy personal property total> +$ 4.60907
63. Total of all property on Schedule A/B, Add line 55 + line 62 $ 4,609.07

 

 

 

Case 21-11322-kht?7, Doc18 Filed 01/04/22 Entered 01/04/22 11:32:33 Page 5 Of Gare s a
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW MEXICO

In re:

Joel Alan Gaffney

Case No. 21-11322

Debtor(s).

UNSWORN DECLARATION UNDER PENALTY OF PERJURY

I declare under penalty of perjury that the information provided in the documents filed
concurrently with this unsworn declaration and listed here:

Amended Schedule A/B: Property.

 

is true and correct.

Gok or

 

 

 

 

 

 

(Debtor signature Joint debtor signature
Name; Joel Alan Gaffney Name:
Date: 01/04/2022 4 Janaary 2022 Date:
NM LF 9012

Case 21-11322-kht7. Doc18 Filed 01/04/22 Entered 01/04/22 11:32:33 Page 6 of 6
